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 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                         CASE NO. 1:15-CR-00300-DAD-BAM-6

12                                Plaintiff,           STIPULATION AND ORDER RE:
                                                       SENTENCING GUIDELINE CALCULATION
13                         v.

14   DIANE MARIE CERIN-PERNISIE,

15                                Defendant.

16

17          The United States of America, by and through PHILLIP A. TALBERT, Acting United States
18 Attorney, and KATHLEEN A. SERVATIUS, Assistant United States Attorneys, and the defendant

19 DIANE MARIA CERIN-PERNISIE, by and through her respective attorney of record, CAROL

20 MOSES, hereby stipulate that the sentencing calculation set forth in the Presentence Investigative

21 Report is correct without erroneous amendments proposed by the government during the sentencing

22 hearing.

23 Dated: March 6, 2017                                    PHILLIP A. TALBERT
                                                           United States Attorney
24
                                                           /s/ Kathleen A. Servatius
25                                                         KATHLEEN A. SERVATIUS
                                                           Assistant United States Attorney
26
27 Dated: March 6, 2017                                 /s/ Carol Moses
                                                        Attorney for Defendant
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 1                                                  ORDER

 2         Pursuant to the stipulation of the parties, the Court adopts the sentencing calculations as

 3 originally set forth in the Presentence Investigative Services without amendment.

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     IT IS SO ORDERED.
 5
        Dated:    March 7, 2017
 6
                                                      UNITED STATES DISTRICT JUDGE
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